                         UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE


 IN RE:
                                                                        Case No. 3:19-bk-07235
 CUMMINGS MANOOKIAN, PLLC

          Debtor.

                                 CERTIFICATE OF SERVICE

 I hereby certify that on October 19, 2021 , the Notice of Appeal, document #149 on the record of
 the above case, was served by first class mail postage prepaid to the following recipients:

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 Dated: October 19, 2021                            /s/Teresa C. Azan, Clerk of Court

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